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BTXN 176 (rev. 10/05)
                                                  UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF TEXAS


In Re:                                                                             §
Raymond R. Cosme                                                                   §      Case No.: 06−31209−bjh7
                                                                                   §      Chapter No.: 7
                                                        Debtor(s)                  §


       NOTICE OF REQUIREMENT TO FILE A STATEMENT OF COMPLETION OF
                COURSE IN PERSONAL FINANCIAL MANAGEMENT
                              (Official Form 23)
Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal
financial management in order to receive a discharge under chapter 7 (11 U.S.C. § 727). Pursuant to Rule 1007(b)(7)
of the Interim Rules of Bankruptcy Procedure, the debtor(s) must complete and file Debtor's Certification of
Completion of Instructional Course Concerning Personal Financial Management (Official Form 23)* as described in
11 U.S.C. § 111.

Debtor(s) and/or debtor(s)' attorney is/are hereby notified that Official Form 23 must be filed before a discharge can
be entered. Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) must file Official Form 23
within 45 days after the first date set for the meeting of creditors under § 341. Failure to file the certification will
result in the case being closed without an entry of discharge. If the debtor(s) subsequently file(s) a Motion to Reopen
the Case to allow for the filing of the Official Form 23, the debtor(s) must pay the full reopening fee due for filing the
motion.



DATED: 6/9/06                                                     FOR THE COURT:
                                                                  Tawana C. Marshall, Clerk of Court

                                                                  by: /s/R. Holman, Deputy Clerk
          *NOTE: Official Interim Form 23 (Debtor's Certification of Completion of Instructional Course Concerning Personal Financial Management)
          must be filed in all individual chapter 13 and chapter 7 cases even if the U.S. Trustee has not approved any credit counseling agency or financial
          management course for the applicable district. See Interim Rule 1007(b)(7).
